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 Debtor Attorney                           George Haines, Esq.
 Nevada Bar No.                            9411
 Attorney Firm Name                        HAINES & KRIEGER, LLC
 Address                                   8985 S. Eastern Avenue Suite 350
 City, State Zip Code                      Henderson, NV 89123
 Phone #                                   (702) 880-5554
 Pro Se Debtor


                                                            UNITED STATES BANKRUPTCY COURT
                                                                   DISTRICT OF NEVADA

 In re:                                                                       BK - -             17-11962
 Debtor:     Raymond J. Olsen, Jr.                                            Judge:     Bruce T. Beesley            Trustee: Rick A. Yarnall
 Last four digits of Soc. Sec. No.: xxx-xx-0166                               CHAPTER 13 PLAN #        2
                                                                              Plan Modification N/A
 Joint Debtor:
 Last four digits of Soc. Sec. No.:                                           Pre-Confirmation Meeting Date:   10/19/2017          Time:   8:30 A.M.
                                                                              Confirmation Hearing Date:       10/19/2017          Time:   1:30 P.M.




                         CHAPTER 13 PLAN WITH DETERMINATION OF INTEREST RATES
   YOU ARE HEREBY NOTIFIED THAT THIS PLAN WILL BE CONSIDERED FOR APPROVAL AT THE CONFIRMATION HEARING
     DATE SET FORTH ABOVE. THE FILING AND SERVING OF WRITTEN OBJECTIONS TO THE PLAN SHALL BE MADE IN
                   ACCORDANCE WITH BANKRUPTCY RULE 3015(f) & 9014 AND LOCAL RULE 9014.

      DEBTOR PROPOSES THE FOLLOWING CHAPTER 13 PLAN WITH DETERMINATION OF INTEREST RATES. UNLESS
    OTHERWISE STATED, ALL CHAPTER, SECTION, AND RULE REFERENCES HEREIN ARE TO THE BANKRUPTCY CODE, 11
                  U.S.C. §§ 101-1330, AND TO THE FEDERAL RULES OF BANKRUPTCY PROCEDURE.


PART I - ELIGIBILITY TO RECEIVE DISCHARGE, COMMITMENT PERIOD, DISPOSABLE INCOME, AND PLAN PAYMENTS

1.01 - Statement of Eligibility to Receive Discharge
  a. Debtor, Raymond J. Olsen, Jr. is eligible to receive a Chapter 13 discharge pursuant to §1328 upon completion of all plan
  obligations.
  b. Joint Debtor   is eligible to receive a Chapter 13 discharge pursuant to §1328 upon completion of all plan obligations.

1.02 - Means Test - Debtor has completed Form B22C – Statement of Current Monthly income and Calculation of Commitment Period
and Disposable Income.

1.03 - Commitment Period - The applicable commitment period is 5 Years
Monthly payments must continue for the entire commitment period unless all allowed unsecured claims are paid in full in a shorter
period of time, pursuant to §1325(b)(4)(B). If the applicable commitment period is 3 years, Debtor may make monthly payments beyond
the commitment period as necessary to complete this plan, but in no event shall monthly payments continue for more than 60 months.

1.04 -Disposable Income - The Debtor is . Debtor's monthly disposable income of $-3,466.38 multiplied by the Applicable
Commitment Period of 60 months equals $-$207,982.80 .

1.05 - Liquidation Value Pursuant to §1325(a)(4) - Liquidation value is calculated as the value of all non-exempt property after the
deduction of valid liens and encumbrances, but before the deduction of Trustee's fees and priority claims. The liquidation value of this
estate is: 0.00 .

This liquidation value is derived from the following non-exempt assets (describe assets):                        .

1.06 - Future Earnings The future earnings of Debtor shall be submitted to the supervision and control of Trustee as is necessary for
the execution of the Plan.




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1.07 - Election to Pay 100% of All Filed and Allowed General Non-Priority Unsecured Claims
          100% of all filed and allowed general non-priority unsecured claims shall be paid by the Trustee pursuant to this Plan

1.08 - MONTHLY PAYMENTS: - Debtor shall make monthly payments to the Trustee as follows:
       $4,270.00 as of 08/18/2017 . Totaling $4,270.00
       $ 1,105.00 for 2 (# of months) commencing 09/18/2017 . Totaling 2,210.00
        2,129.00 for 54 (# of months) commencing 11/18/2017 . Totaling 117,622.00


1.09 - Other Payments - In addition to the submission of future earnings, Debtor will make non-monthly payment(s) derived from
property of the bankruptcy estate or property of Debtor, or from other sources, as follows:
    Amount of Payment               Date                Source of Payment
 $
 $
 $

1.10 - TOTAL OF ALL PLAN PAYMENTS INCLUDING TRUSTEE FEES =                                                        124,102.00

1.11 - Tax Refunds - In addition to the payments set forth in Sections 1.08 and 1.09, Debtor shall turn over to the Trustee and pay into
the plan the non-exempt portion of any annual tax refunds for the following tax years:
                   2017, 2018, 2019, 2020, 2021

1.12 - Trustees fees -Trustee's fees have been calculated at 10% of all plan payments, which totals: 12,410.00 . This amount is
included in Section 1.10 above. Trustee's fees shall be calculated at 10% of all payments made under the plan, whether such payments
are made before or after confirmation. Excluded from this calculation are payments made directly by Debtor, as provided for by the
plan, to any CLASS 4 creditor or pursuant to an executory contract or unexpired lease.

PART II - CLAIMS AND EXPENSES

A. Proofs of Claim

2.01 - A Proof of Claim must be timely filed by, or on behalf of, a priority or general non-priority unsecured creditor in order for that
creditor's claim o be paid pursuant to this Plan.

2.02 - A CLASS 2 secured creditor shall be paid all post-petition installment payments and shall receive payments on CLASS 6
post-petition arrearage claims whether or not a Proof of Claim is filed. A CLASS 2 secured creditor shall not receive any payments on
its pre-petition arrearage claim unless a Proof of Claim has been filed. A CLASS 3 secured creditor must file a Proof of Claim before the
claim will be paid pursuant to this Plan. A secured creditor may file a Proof of Claim at any time prior to the completion of this Plan.

2.03 - Notwithstanding Sections 2.01 and 2.02, the monthly contract installment payments falling due after the filing of the petition shall
be paid by the Debtor or a third party to each holder of a CLASS 4 secured claim whether or not a Proof of Claim is filed or the plan is
confirmed.

2.04 - Pursuant to § 507(a)(1), payments on domestic support obligations (DSO) and payments on loans from retirement or thrift
savings plans described in § 362(b)(19) falling due after the filing of the petition shall be paid by Debtor directly to the person or entity
entitled to receive such payments whether or not a Proof of Claim is filed or the plan is confirmed, unless agreed otherwise.

2.05 - A Proof of Claim, not this Plan or the schedules, shall determine the amount and the classification of a claim. Pursuant to §
502(a), such claim is deemed allowed unless objected to and the Court determines otherwise.

   a. Claims Provided for by this Plan - If a claim is provided for by this Plan and a Proof of Claim is filed, the claim shall be paid
      based upon the Proof of Claim unless the Court enters a separate Order otherwise determining: (i) value of the creditors
      collateral; (ii) avoidance of a lien; (iii) amount of the claim; or (iv) classification of the claim. If interest is required to be paid on a
      claim, the interest rate shall be paid in accordance with the Order Confirming Chapter 13 Plan unless a separate Order of the
      Court establishes a different rate of interest.

   b. Claims Not Provided for by this Plan - If a claim is not provided for by this Plan and a Proof of Claim is filed, no payments will
      be made to the claimant by the Trustee or Debtor until such time as Debtor modifies the plan to provide for payment of the claim.
      Such claim is deemed allowed unless objected to and the Court determines otherwise. If no action is taken by Debtor, the Trustee
      may file a Motion to Dismiss the case or file a Trustee's Modified Plan.

B. Fees and Administrative Expenses

2.06 - CLASS 1 - Fees and Administrative Expenses to be Paid by Trustee - All CLASS 1 claims will be paid by the Trustee.


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2.07 - CLASS 1A - Compensation of Former Chapter 7 Trustee - Compensation provided for in this section shall be paid in full by
the Trustee. Compensation of the type described in § 1326(b)(3) shall be limited to the greater of $25.00 or 5% of the amount payable
to general non-priority unsecured creditors divided by the number of months in the length of this Plan.
 Trustee's Name                                 Compensation
 -NONE-

2.08 - CLASS 1B - Administrative Expenses Other than Trustee's Fees and Debtor's Attorney's Fees - Approved administrative
expenses listed in this section shall be paid in full by the Trustee unless § 1326(b)(3)(B) is applicable or the holder of such claim agrees
to accept less than the full amount.
 Creditor's Name                        Services Provided                                                Amount Owed
 -NONE-

2.09 - CLASS 1C - Administrative Expenses - DEBTOR'S ATTORNEY'S FEES - As set forth in the Rule 2016(b) Disclosure of
Compensation of Attorney for Debtor(s) filed in this case, Debtor's attorney's fees, costs, and filing fees in this case shall be
$ 8,796.00 . The sum of $ 499.00 has been paid to the attorney prior to the filing of the petition. The balance of $ 8,297.00 shall be
paid through the plan by the Trustee. All fees are subject to review and approval by the Court. It is contemplated that the Debtor will
continue to utilize the services of their attorney through the completion of the plan or until the attorney is relieved by Order of the Court.
Debtor may incur additional attorney's fees post-confirmation in an amount estimated to be, but not to exceed, $ 0.00 . Such additional
attorney's fees must be approved by the Court and will be paid through the plan by the Trustee. Additional attorney's fees must not
render this Plan infeasible. If Debtor incurs post-confirmation attorney's fees in excess of the amount stated above, Debtor must modify
this Plan to provide for the payment of such fees. The estimated amount of post-confirmation attorney fees stated above will be used for
the purpose of calculating feasibility of this Plan, but funds will not be reserved by the Trustee on account of such additional fees unless
a request for the fees is properly filed with the Court.

C. Secured Claims

2.10 - CLASS 2 - Secured Claims Not Modified by this Plan and Paid by Trustee - CLASS 2 claims are not modified by this Plan
and will be paid by the Trustee in the manner set forth below. The holder of a CLASS 2 claim shall retain its existing lien until paid in
full.

2.11 - CLASS 2A - Conduit Payments on Claims Secured by Real and Personal Property - The Trustee will pay all CLASS 2A
pre-petition arrearage claims in full with interest, if any, at the rates stated below. The monthly installment payments on each CLASS 2A
claim coming due after the filing of the petition will be paid by the Trustee as follows: (a) the Trustee will make monthly post-petition
installment payments on claims as they come due; (b) the first monthly installment payment of the total number of payments listed
below shall be treated and paid in the same manner as a pre-petition arrearage claim unless agreed otherwise; (c) Trustee will not
make a partial disbursement on a monthly installment payment; (d) if Debtor makes a partial plan payment that is insufficient to pay all
CLASS 2A monthly installment payments that are due, Trustee will prioritize disbursements by making monthly installment payments to
CLASS 2A creditors in the order in which they are listed; (e) if Debtor makes a late or partial plan payment and Trustee is unable to pay
timely a monthly installment payment due on a CLASS 2A claim, then Debtor's cure of this default must be accompanied by a cure of
any applicable late charge imposed by the creditor and/or any accrued interest; (f) upon receipt, Debtor shall mail or deliver to the
Trustee all notices from CLASS 2A creditors including, without limitation, statements, payment coupons, impound and escrow notices,
default notifications, and notices concerning changes of the interest rate on variable interest rate loans. The automatic stay is modified
to permit the sending of such notices. Prior to mailing or delivering any such notice to the Trustee, Debtor shall affix the Chapter 13
case number to it. If any such notice informs Debtor that the amount of the monthly installment payment on any CLASS 2A claim has
increased, Debtor shall increase the plan payments to the Trustee without modification of this Plan. A CLASS 2A creditor receiving
conduit payments shall apply such payments to principal and interest consistent with this Plan. Debtor shall pay directly all post-petition
real estate taxes not otherwise paid by the real estate loan creditor, and provide evidence of such payment to the Trustee upon request.
CLASS 2A may include claims secured by real or personal property, and claims to which § 506(a) does not apply. CLASS 2A claims
may mature before or after the completion of the plan.
                                                            Monthly        # of
                                                                                     Installment                                Estimated
 Creditor’s Name /                                       Installment     Monthly                 Pre-Petition Interest Rate
                                    Claim Amount                                      Payment                                  Grand Total
 Collateral Description                                    Payment Installment                    Arrearage on Arrearage
                                                                                      Start Date                               of Payments
                                                                 Amt Payments
 Carrington Mortgage
 Services, LLC
 670 Homewill Avenue Las
 Vegas, NV 89123 Clark
 County                                 293,028.00         1,251.27         3         month 1     23,986.21           0.00%      $27,740.02




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                                                                         Monthly    # of
                                                                                              Installment                               Estimated
 Creditor’s Name /                                                    Installment  Monthly                Pre-Petition Interest Rate
                                              Claim Amount                                     Payment                                 Grand Total
 Collateral Description                                                 Payment Installment                Arrearage on Arrearage
                                                                                               Start Date                              of Payments
                                                                              Amt Payments
 Carrington Mortgage
 Services, LLC
 670 Homewill Avenue Las
 Vegas, NV 89123 Clark
 County




                                                                                                                                        See Section
                                                                       $1,251.27     6         month 4                                         2.16
 Carrington Mortgage
 Services, LLC
 670 Homewill Avenue
 Las Vegas, NV 89123
 CLark County                                                          $1,251.27     51       month 10                                    $63,814.77

2.12 - CLASS 2B - Pre-Petition Secured Claims for Real Property Taxes, Homeowners Associations, and Public Utilities - The
Trustee will pay all CLASS 2B pre-petition arrearage claims in full with interest, if any, at the rates stated below. CLASS 2B claims may
include claims for real property taxes, HOA fees, and public utilities.
 Creditor’s Name /                              Pre-petition               Interest Rate If
 Collateral Description                          Arrearage                      Applicable           Grand Total
 Association Nevada South
 670 Homewill Avenue Las Vegas, NV
 89123 Clark County                                                  120.00                     0.00%             120.00

2.13 - CLASS 3 - Secured Claims Modified by this Plan and Paid by Trustee - Each CLASS 3 claim is modified by this Plan and
shall be paid in full by the Trustee in the manner set forth below. The holder of a CLASS 3 claim shall retain its existing lien and receive
payment in the amounts listed below. The monthly payment amount on a CLASS 3 claim may increase or decrease after a specified
number of months as stated below. Unless otherwise ordered, CLASS 3 personal property claims will receive adequate protection
payments in the monthly payment amounts set forth below. If no monthly payment amount is listed for a CLASS 3 personal property
claim, the creditor will not receive adequate protection payments on its claim unless adequate protection payments for the claim are
specifically set forth in Section 6.02 of this Plan. Unless otherwise ordered or specifically set forth in Section 6.02 of this Plan, CLASS 3
real property claims will not receive adequate protection payments.

2.13.A - CLASS 3A - Secured Claims Modified and Paid by Trustee Based Upon a § 506(a) Collateral Valuation or an Agreement
- CLASS 3A claims shall be paid by the Trustee based upon the lesser of the Claim Amount or, if § 506(a) is applicable, the Fair Market
Value listed below. The Claim Amount shall be the amount due under any contract between Debtor and the claimant under applicable
non-bankruptcy law, as determined by the Proof of Claim. The Fair Market Value shall be the value of the collateral securing the claim,
as determined by the Proof of Claim or a separate Court Order valuing the collateral under § 506(a).
                                                           Applicable      Monthly       Number of       Monthly      Estimated Grand
      Creditor’s Name /          Claim       Fair Market     Interest     Payment          Monthly       Payment           Total of
   Collateral Description       Amount          Value          Rate        Amount         Payments      Start Date        Payments
 Conn
 Appliances/household
 goods                          $5,825.52         $500.00      5%                $9.44              60    month 1              $566.40
 RC Willey Home
 Furnishings
 Inc./household goods          $11,192.27         $500.00      5%                 9.44              60    month 1              $566.40

2.13.B - CLASS 3B - Secured Claims Modified and Paid in Full by Trustee (§ 506 Does Not Apply) - CLASS 3B claims shall be
paid in full by the Trustee. The amount of a CLASS 3B claim shall be the amount due under any contract between Debtor and the
claimant under applicable nonbankruptcy law, as determined by the Proof of Claim or a separate Court Order. CLASS 3B claims may
include secured tax liens and claims secured by purchase money security interests that were (a) incurred within 910 days preceding the
filing of the petition and secured by a motor vehicle acquired for the personal use of Debtor, or (b) incurred within 1 year preceding the
filing of the petition and secured by any other thing of value.
                                                                                                Number of       Monthly Estimated Grand
 Creditor’s Name /                        Full Claim Applicable          Monthly Payment           Monthly     Payment              Total of
 Collateral Description                      Amount Interest Rate                 Amount        Payments Start Date              Payments



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2.14 - CLASS 4 - Secured Claims Paid Directly by Debtor or a Third Party - CLASS 4 claims are not modified by this Plan and the
creditor shall retain its existing lien. CLASS 4 claims shall be paid by Debtor or a third party whether or not the plan is confirmed. As set
forth in Section 5.04(e) of this Plan, Debtor shall submit to the Trustee verification of payments on all CLASS 4 claims. CLASS 4 may
include claims secured by either real property or personal property, and claims for which Debtor has been excused from the District of
Nevada's mandatory conduit payment requirement. CLASS 4 claims may mature before or after the completion of this Plan.
 Creditor’s Name /                                                          Installment      Applicable
 Collateral Description                                                Payment Amount Interest Rate        Maturity Date
 -NONE-

2.15 - CLASS 5 - Surrender of Collateral - Debtor shall surrender to the creditors listed in CLASS 5 the real property or personal
property that is the collateral for such creditor's claim. Upon confirmation of this Plan, Debtor consents to termination of the stay under §
362(a) and § 1301 with respect to the surrendered collateral listed below.
 Creditor’s Name                         Description of Collateral                                  Estimated Deficiency
 -NONE-

D. Post-Petition Claims

2.16 - CLASS 6 - Post-Petition Claims to be Paid in Full by Trustee Pursuant to § 1305 - CLASS 6 claims will be paid in full by the
Trustee. CLASS 6 may only include those claims provided for under § 1305(a), such as taxes that become payable to a governmental
unit while the case is pending and delinquent post-petition mortgage payments.
 Creditor’s Name /                                                         Applicable     Estimated Grand
 Collateral Description (if applicable)                     Claim Amount Interest Rate   Total of Payments
 Carrington Mortgage Services, LLC
 670 Homewill Avenue
 Las Vegas, NV 89123


                                                                              $7,507.62                   $7,507.62

E. Unsecured Claims

2.17 - CLASS 7 - Priority Unsecured Claims Paid by Trustee - All CLASS 7 claims will be paid by the Trustee in the manner set forth
below. CLASS 7 may include tax claims and claims for allowed unsecured Domestic Support Obligations.

2.17.A - CLASS 7A - Priority Unsecured Claims Paid in Full by Trustee Pursuant to § 507 and § 1322(a)(2) - CLASS 7A claims will
be paid in full by the Trustee unless the creditor agrees otherwise.
                                                                                  Applicable   Estimated Grand
 Creditor’s Name                     Describe Priority             Claim Amount Interest Rate Total of Payments
                                     Taxes and certain other
 IRS                                 debts                              3,079.90     0.00               3,079.90

2.17.B - CLASS 7B - Priority Unsecured Claims Paid Less than the Full Amount by Trustee Pursuant to § 507(a)(1)(B) and §
1322(a)(4) - CLASS 7B claims will be paid through the plan by the Trustee in the amounts listed below. CLASS 7B may only include
claims for allowed unsecured Domestic Support Obligations which will be paid less than the full amount pursuant to § 507(a)(1)(B) and
§ 1322(a)(4).
       Creditor’s Name/           Claim       Total Amount to be
     Description of Debt        Amount           Paid by Plan
 -NONE-/


2.18 - CLASS 8 - Non-Priority Unsecured Claims Separately Classified Pursuant to § 1322(b)(1) and Paid in Full by Trustee -
CLASS 8 claims will be paid in full by the Trustee even if all other unsecured claims may not be paid in full. CLASS 8 may include §
1328(a) Non-dischargeable Claims with payment of interest pursuant to § 1322(b)(10), provided that there is disposable income
available after making provision for full payment of all other allowed claims.
                                                          Applicable
 Creditor’s Name /                                         Interest    Estimated Grand Total
 Description of Debt                     Claim Amount        Rate                of Payments
 -NONE-

2.19 - CLASS 9 - General Non-Priority Unsecured Claims Paid by Trustee - The Trustee will pay to the creditors holding allowed
general non-priority unsecured claims a pro-rata share of the funds remaining after disbursements have been made to all other
creditors provided for in this Plan. Debtor estimates this amount to be 0 Pursuant to the terms of this Plan, the amount available for
disbursement to general nonpriority unsecured claims may change based upon the allowed claim amounts, amended claims, interest
rates, additional attorney's fees as set forth in Section 2.09 of this Plan, and/or other administrative expenses. General non-priority
unsecured creditors will be paid interest at the rate of 0.00% [Insert the present value rate of interest if the Debtor's estate is solvent
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under § 1325(a)(4)].

PART III - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

3.01 - Debtor assumes or rejects the executory contracts and unexpired leases listed below. Debtor shall pay all amounts due under
any accepted executory contract or unexpired lease, including any pre-petition arrearages and all required contractual post-petition
payments. Any executory contract or unexpired lease not listed in the table below is rejected. Entry of the Confirmation Order modifies
the automatic stay to allow the nondebtor party to a rejected unexpired lease to obtain possession of leased property pursuant to §
365(p)(3).
 Lessor's Name/ Collateral        Accept /     Expiration
 Description                      Reject       Date
 -NONE-

PART IV - DISTRIBUTION OF PLAN PAYMENTS

4.01 - After confirmation of this Plan, funds available for distribution will be paid monthly by the Trustee.

4.02 - Order of Distribution (select one):
          a. Regular Distribution of Plan Payments - The Trustee will pay as funds are available in the following order unless stated
             otherwise:
             (i)    Trustee's Fees;
             (ii) Monthly conduit payments on CLASS 2 claims;
             (iii) Adequate protection payments until confirmation;
             (iv) CLASS 1 fees and administrative expenses;
             (v) CLASS 2B pre-petition arrearage on claims and CLASS 3 secured claims as provided for in the plan;
             (vi) CLASS 7 priority claims;
             (vii) CLASS 6 post-petition claims;
             (viii) CLASS 2A pre-petition arrearage claims;
             (ix) CLASS 8 separately classified unsecured claims;
             (x) CLASS 9 general non-priority unsecured claims.
         OR
             b. Alternative Distribution of Plan Payments - If the Regular Distribution of Plan Payments is not selected then an
                Alternative Distribution of Plan Payments shall be specifically set forth below in Section VI Additional Provisions and shall
                designate the order of payment as funds are available.

4.03 - Order of Payments to Administrative Expenses - The portion of the monthly plan payment allocated in Section 4.02 for
administrative expenses described in Sections 2.07, 2.08, and 2.09 shall be distributed first on account of the monthly dividend due to a
former chapter 7 trustee pursuant to Section 2.07, then to holders of administrative expenses described in Sections 2.08 and 2.09 on a
pro-rata basis.

PART V - M I SCELLANEOUS PROVI SI ONS
5.01 - Adequate Protection Payments - Prior to confirmation, the Trustee may pay on account of each allowed CLASS 3 claim an
adequate protection payment as required by § 1326(a)(1)(C) commencing the month after the petition is filed provided that a Proof of
Claim has been filed and adequate protection payments have been provided for in CLASS 3 or in Section 6.02 of this Plan. Adequate
protection payments may be disbursed by the Trustee in connection with the customary disbursement cycle beginning the month after
the petition is filed. A creditor receiving adequate protection payments shall apply such payments to principal and interest consistent
with this Plan.

5.02 - Post-Petition Interest - Post-petition interest shall accrue under this Plan on all CLASS 2 arrearage claims at the rates stated
herein, except to the extent that a CLASS 2A arrearage claim is for arrears on a loan incurred after October 22, 1994, unless the real
estate contract provides otherwise, in which case no interest will accrue on the CLASS 2A arrearage claim. Post-petition interest shall
accrue under this Plan on all CLASS 3, CLASS 6, CLASS 7A, and CLASS 8 claims at the rates stated herein. If this Plan specifies a
`0%' applicable interest rate, no interest will accrue on the claim. For CLASS 2A arrearage claims and CLASS 3B claims secured by
property with a value greater than is owed under any contract or under applicable non-bankruptcy law, interest shall accrue from the
petition date. For all other claims interest shall accrue from the date the plan is confirmed unless otherwise ordered by the Court.

5.03 - Vesting of Property - Any property of the estate scheduled under § 521 shall vest in Debtor upon confirmation of this Plan. In
the event the case is converted to a case under Chapter 7, 11 or 12 of the Bankruptcy Code or is dismissed, the property of the estate
shall be determined in accordance with applicable law.

5.04 - Debtor's Duties - In addition to the duties imposed upon Debtor by the Bankruptcy Code and Rules, the Local Bankruptcy Rules,
Administrative Orders, and General Orders, this Plan imposes the following additional duties on Debtor: (a) Transfers of Property and
New Debt - Debtor is prohibited from transferring, encumbering, selling or otherwise disposing of any personal property with a value of
$1,000.00 or more or real property with a value of $5,000.00 or more without first obtaining Court authorization. Except as provided in §
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364 and § 1304, Debtor shall ot incur aggregate new debt exceeding $1,000.00 without first obtaining Court authorization. A new
consumer debt of less than $1,000.00 shall not be paid through this plan absent compliance with § 1305(c). (b) Insurance and Taxes -
Debtor shall maintain insurance as required by any law or contract and provide evidence of such insurance as required by § 1326(a)(4).
Debtor shall pay directly all post-petition taxes as required by law or contract and provide evidence of such payment to the Trustee upon
request. (c) Compliance with Applicable Non-Bankruptcy Law - Debtor's financial and business affairs shall be conducted in
accordance with applicable non-bankruptcy law including the timely filing of tax returns and payment of taxes. (d) Tax Returns - On or
before April 20 of the year following the filing of this case and each year thereafter, Debtor shall submit to the Trustee copies of all
personal and/or business tax returns filed with any federal or state taxing authority for the prior tax year, along with copies of any W-2
forms, 1098 forms, and 1099 forms. (e) Periodic Reports - For each CLASS 4 claim, Debtor shall submit verification of payments on
such claim to the Trustee at least as frequently as once every six months and also upon the Trustee's request. Such submissions must
demonstrate that each ongoing payment has been made by Debtor, meaning if Debtor submits verification to the Trustee once every six
months Debtor must provide documentation demonstrating that all six payments were made during that interval. Upon the Trustee's
request, Debtor shall provide the Trustee with documents relating to a tax return filed while the case is pending and quarterly financial
information regarding Debtor's business or financial affairs. Pursuant to § 521(f)(4), upon the Trustee's request Debtor shall provide the
Trustee with a statement, under penalty of perjury, of Debtor's income and expenditures for the prior tax year, which shows how
income, expenditures, and monthly income are calculated. (f) Documents Required by the Trustee - In addition to the documents
required by the Bankruptcy Code and Local Rules, Debtor shall provide to the Trustee not later than the first date set for the § 341
meeting: (1) written notice of the name and address of each person to whom Debtor owes a domestic support obligation together with
the name and address of the relevant State child support enforcement agency [see 42 U.S.C. § 464 & § 466]; (2) a wage order if
requested by the Trustee; (3) a Worksheet and Authorization to Release Information for each CLASS 2 claim; and (4) IRS Form 8821
and IRS Form 4506. (g) Documents Required by Trustee Prior to Discharge of Debtor - Within 30 days of the completion of the
plan, Debtor shall certify to the Court with a copy to the Trustee the following: (1) of the name and address of each person to whom
Debtor owes domestic support obligation at that time together with the name and of the relevant State child support enforcement
agency [see 42 U.S.C. § 464 & § 466]; (2) Debtor's current address; (3) the name and address of Debtor's current employer; (4) the
name of each creditor whose claim was not discharged under § 523(a)(2); (5) the name of each creditor that was reaffirmed by Debtor
under § 524(c); (6) a certificate of completion of an instructional course in Personal Financial Management; and (7) a Notarized
Declaration Regarding Domestic Support Obligations stating Debtor is current on such obligation(s). (h) Funds from Creditors - If the
Debtor receives funds from a creditor which were previously disbursed to the creditor by the Trustee, Debtor shall immediately tender
such funds to the Trustee and provide a written statement identifying the creditor from whom the funds were received.

5.05 - Remedies on Default - If Debtor defaults in the performance of this Plan, or if the plan will not be completed in 60 months, the
Trustee or any other party in interest may request appropriate relief by filing a motion and setting it for hearing pursuant to Local Rule
9014. This relief may consist of, without limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the
automatic stay to pursue rights against collateral. If, on motion of a creditor, the Court terminates the automatic stay to permit a creditor
to proceed against its collateral, unless the Court orders otherwise, the Trustee will make no further distribution to such secured claim.
Any deficiency claim resulting from the disposition of the collateral shall be paid as a CLASS 9 general non-priority unsecured claim
provided that a Proof of Claim or amended Proof of Claim is timely filed, allowed, and served on Debtor and the Trustee. Such
deficiency claim shall be paid prospectively only, and chapter 13 plan payments previously disbursed to holders of other allowed claims
shall not be recovered by the Trustee to provide a pro-rata distribution to the holder of any such deficiency claim.

5.06 - Creditors Shall Release Lien When Paid Pursuant to § 1325(a)(5)(B) - The holder of a claim shall retain its lien until the earlier
of: (a) the payment of the underlying debt as determined under non-bankruptcy law, or (b) discharge under § 1328. After either one of
the foregoing events has occurred, the creditor shall release its lien and provide evidence and/or documentation of such release to
Debtor within 30 days. If the case under this chapter is dismissed or converted without completion of the plan, the holder of a claim shall
retain its lien to the extent recognized by applicable non-bankruptcy law.

5.07 - Creditors Shall Refund All Overpayments to the Trustee - If a creditor withdraws its Proof of Claim after the Trustee has
disbursed payments on such claim, the creditor shall refund all payments to the Trustee within 60 days of the withdrawal. If a creditor
amends its Proof of Claim to assert an amount less than what was previously disbursed by the Trustee on such claim, the creditor shall
refund the overpayment to the Trustee within 60 days of the amendment. If a creditor receives payment from the Trustee in excess of
the amount asserted in its Proof of Claim or required to be paid under this Plan, the creditor shall refund the overpayment to the Trustee
within 60 days of receiving the overpayment. Creditors shall not refund any payments or overpayments to the Debtor.

5.08 - Plan Payment Extension Without Modification - If the plan term does not exceed 60 months and any claims are filed in
amounts greater than the amounts specifically stated herein, Debtor authorizes the Trustee to continue making payments to
creditors beyond the term of the plan, so long as such term does not exceed 60 months. Debtor shall continue making plan payments to
the Trustee until the claims, as filed, are paid in full or until the plan is otherwise modified.

PART VI - ADDITIONAL PROVISIONS

6.01 - Other than to insert text into the designated spaces, to expand the tables to include additional claims, or to change the
title to indicate the plan is an amended or modified plan, the preprinted language of this form shall not be altered - This does
not mean that Debtor is prohibited from proposing additional or different plan provisions. As long as consistent with the Bankruptcy
Code, Debtor may propose additional or different plan provisions or specify that any of the above provisions will not be applicable. Each
such provision or deletion shall be set forth herein below or attached hereto as an exhibit and shall be identified by a section number
(6.02, 6.03, etc.).

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 Date 09/12/2017                                                        Signature    /s/ Raymond J. Olsen, Jr.
                                                                                     Raymond J. Olsen, Jr.
                                                                                     Debtor

Pursuant to Local Rule 3015(a), the Chapter 13 Trustees have issued a form Chapter 13 Plan with the latest version posted on
their respective websites. The signature below certifies that the pre-printed text of the form Plan has not been altered in any
way except for changes specifically stated and set forth in Part VI. Additional Provisions.

Dated: 09/12/2017

 /s/ George Haines, Esq.
 George Haines, Esq.
 Attorney for Debtor(s) or Pro Se
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